      Case 1:23-bk-10618-VK        Doc 4 Filed 05/09/23 Entered 05/09/23 10:41:34                   Desc
                                    Main Document Page 1 of 4



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                                                                          FILED & ENTERED
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 4                                                                               MAY 09 2023
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                                                                            CLERK U.S. BANKRUPTCY COURT
                                                                            Central District of California
 6                                                                          BY Pgarcia DEPUTY CLERK


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                             UNITED STATES BANKRUPTCY COURT
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                              CENTRAL DISTRICT OF CALIFORNIA
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                                SAN FERNANDO VALLEY DIVISION
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13   In re:                                          Case No.: 1:23-bk-10618-VK
14   SCHULTZ INVESTMENTS 21, INC.                    Chapter 11
15                                                   ORDER TO SHOW CAUSE RE: DISMISSAL
16                                                   Date: May 18, 2023
17                                                   Time: 1:00 p.m.
                                                     Place: Courtroom 301
18                                  Debtor.                 21041 Burbank Blvd.
                                                            Woodland Hills, CA 91367
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20
21            ON THE COURT’S OWN MOTION, IT IS HEREBY ORDERED that an officer of

22   Schultz Investments 21, Inc. (the “Debtor”) and the Debtor’s counsel, if any, must appear at a

23   hearing in this case on May 18, 2023 at 1:00 p.m. in Courtroom 301 of the above-entitled Court
24   to show cause and explain why this case should not be dismissed as a result of the Debtor’s
25   failure to file a petition and otherwise appear with counsel as required by Local Bankruptcy Rule
26   9011-2(a).
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 1          IT IS FURTHER ORDERED that if the Debtor has engaged counsel who has agreed to
 2   represent the Debtor in this case, and a “Disclosure of Compensation of Attorney for Debtor”
 3   (Form B2030), is filed with the Court by May 16, 2023, this order to show cause will be
 4   discharged and the appearance of the Debtor and the Debtor’s counsel at the hearing will not be
 5   necessary. If the Debtor fails to comply with the requirements noted above at the order to show
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     cause hearing, the Court may dismiss this case; and
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            IT IS FURTHER ORDERED that the parties are to attend the hearing via ZoomGov,
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     which provides a live video connection with the Court. Any attorney or party in interest who
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     makes an appearance on the record must appear by video. The following instructions will
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     apply to the ZoomGov hearing:
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                   (1)     Meeting Information: May 18, 2023
12
13                         Meeting URL: https://cacb.zoomgov.com/j/1604803108

14                         Meeting ID: 160 480 3108
15                         Password: 895650
16
                           Join by Telephone: 1-669-254-5252 or 1-646-828-7666
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                   (2)     Hearing participants and members of the public may view and listen
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                   to the hearing through ZoomGov free of charge. Individuals may connect by
19
                   ZoomGov video and audio using a personal computer (equipped with camera,
20
21                 microphone and speaker), or a handheld mobile device (such as an iPhone).

22                 Neither a Zoom nor a ZoomGov account is necessary to participate and no

23                 pre-registration is required.

24                 (3)     The audio portion of each hearing will be recorded electronically by

25                 the Court and constitute its official record.
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 1               (4)    All persons (other than Court staff creating the official record of the
 2               hearing) are strictly prohibited from making any audio or video recording of
 3               the proceedings.
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        Date: May 9, 2023
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               NOTICE OF ENTERED ORDER AND SERVICE LIST
Notice is given by the court that a judgment or order entitled: ORDER TO SHOW CAUSE RE
DISMISSAL was entered on the date indicated as “Entered” on the first page of this judgment or order
and will be served in the manner indicated below:


I. SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling
General Orders and Local Bankruptcy Rules, the foregoing document was served on the following
persons by the court via NEF and hyperlink to the judgment or order. As of May 9, 2023 , the following
persons are currently on the Electronic Mail Notice List for this bankruptcy case or adversary proceeding
to receive NEF transmission at the email addresses indicated below.


    •   Katherine Bunker kate.bunker@usdoj.gov
    •   United States Trustee (SV) ustpregion16.wh.ecf@usdoj.gov


                                                          Service information continued on attached page


II. SERVED BY THE COURT VIA U.S. MAIL: On May 9, 2023, a copy of this notice and a true copy of
this judgment or order was sent by United States Mail, first class, postage prepaid, to the following
persons and/or entities at the addresses indicated below:

Debtor
Shultz Investments 21, Inc.
Attn: Dinorah L. Cordova, Vice-President
1702 Highclere Way
Bakersfield, CA 93311
                                                          Service information continued on attached page

III. TO BE SERVED BY THE LODGING PARTY: Within 72 hours after receipt of a copy of this judgment
or order which bears an “Entered” stamp, the party lodging the judgment or order will serve a complete
copy bearing an “Entered” stamp by U.S. Mail, overnight mail, facsimile transmission or email and file a
proof of service of the entered order on the following persons and/or entities at the addresses, facsimile
transmission numbers, and/or email addresses indicated below:



                                                          Service information continued on attached page
